Case: 1:18-cv-05369 Document #: 33-7 Filed: 10/15/18 Page 1 of 6 PageID #:897




                          EXHIBIT 7
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                                      #: 33-7 Filed: 10/15/18 Page 2 of 6 PageID #:898
 2                  Version 2, June 1991
 3
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